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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW .JERSEY

 INDIVIOR INC. arid INDIVIOR UK
 LIMITED,                                                 Civil Action No. 17-7997 (KM)(CLW)

               Plaintiffs,                                (Filed Electronically)

        V.


 PAR PHARMACEUTICAL, INC.,
 PAR PHARMACEUTICAL COMPANIES INC.,
 and ENDO INTERNATIONAL PLC,

                Defendants.

                                                          Civil Action No. 18-1 780 (KM)(CLW)
 INDIVIOR INC., INDIVIOR UK LIMITED, and
 AQUESTIVE THERAPEUTICS, INC.

                Plaintiffs,

        V.


 PAR PHARMACEUTICAL, INC., PAR
 PHARMACEUTICAL COMPANIES INC., and
 ENDO INTERNATIONAL PLC.,

                Defendants.



                                    CONSENT JUDGMENT

        Indivior Inc. (formerly known as Reckitt Benckiser Pharmaceuticals Inc.) and Indivior

 UK Limited (formerly known as RB Pharmaceuticals Limited) (hereinafter “Indivior”);

 Aquestive Therapeutics, Inc. (formerly known as MonoSol Rx LLC) (hereinafter “MonoSol”);

 and Par Pharmaceutical. Inc.. Par Pharmaceutical Companies Inc. and Endo International PLC

 (hereinafter “Par”), the parties in the above-captioned actions. have agreed to terms and

 conditions representing a negotiated settlement of the actions and have set forth those terms and
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 conditions in a Settlement Agreement (the “Settlement Agreement”). Now the parties. by their

 respective undersigned attorneys, hereby stipulate and consent to entry ofjudgrnent and an

 injunction in the actions, as follows:
                       5€
         IT IS this -L  day of May. 2018:

 ORDERED, ADJUDGED AND DECREED as follows:

         I.       This District Court has jurisdiction over the subject matter of the above actions

 and has personal jurisdiction over the parties for purposes of these actions only.

         2.       As used in this Consent Judgment. (i) the term ‘-Par Product” shall mean the drug

 product sold, offered for sale or distributed pursuant to Abbreviated New Drug Application No.

 205854 (and defined in greater detail in the Settlement Agreement): (ii) the term “Licensed

 Patents” shall mean United States Patent Number 9.687.454 and United States Patent Number

 9.855,221; and (iii) the term “Affiliate” shall mean any entity or person that, directly or

  indirectly through one or more intermediaries, controls, is controlled by. or is tinder common

 control with Par: for purposes of this definition. “control” means (a) ownership. directly or

  through one or more intermediaries, of (I) more than fifty percent (50%) of the shares of stock

  entitled to vote for the election of directors. in the case of a corporation, or (2) more than fifty

  percent (50%) of the equity interests in the case of any other type of legal entity or status as a

  general partner in any partnership, or (b) any other arrangement whereby an entity or person has

  the right to elect a majority of the Board of Directors or equivalent governing body of a

  corporation or other entity or the right to direct the management and policies of a corporation or

  other entity.

          3.      Unless otherwise specifically authorized pursuant to the Settlement Agreement.

  Par, including any of its Affiliates. succcssors and assigns. is enjoined from infringing the


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 Licensed Patents,   on   its own part or through any Affiliate, by making. having made, using.

 selling, offering to sell. importing or distributing the Par Product.

        4.      Compliance with this Consent Judgment may be enforced by Indivior and its

 successors in interest or assigns, as permitted by the terms of the Settlement Agreement.

         5.      This District Court retains jurisdiction to enforce or supervise performance under

 this Consent Judgment and the Settlement Agreement.

         6.      All claims, counterclaims, affirmative defenses and demands in these actions are

 hereby dismissed with prejudice and without costs, disbursements or attorne)s’ fees to any party.




                                                                    Kevin McNLIfly, U.S.D.J.
                                                                                                  (,J
 We hereby consent to the form and entry of this Order:



 sI William C. Baton                                       s/Gregory D. Miller
 Charles M. Lizza                                          Gregory D. Miller
 (clizzatsatil.com)                                        (gregory.inillerWrivkin.com)
 William C. Baton                                          Gene Y. Kang
 (wbaton’cLsaul.com)                                       (gene.kang:ci:rivkin.com)
 Sarah A. Sullivan                                         RIVKIN RADLER LLP
 (sarah.sullivan@saul.com)                                 21 Main Street. Suite 158
 David L. Moses                                            Court Plaza South West Wing
                                                                            —




 (dmoses(iisaul.com)                                       Hackensack, NJ 07601
 SAUL EWING ARNSTEIN & LUIR LLP                            P: (201) 287-2460
 One Riverfront Plaza
 Newark. New Jersey 07102-5426                             Daniel G. Brown (pro hoc vice)
 P: (973) 286-6700                                         (daniel.browMñlw.com)
                                                           LATIIAM & WATKINS LLP
 Attorneys/br Plaintiffs’                                  885 Third Avenue
 hufivior Inc., Jndn’wr UK Limited,                        New York. NY I 0022
 and Aqzwstzve Therapeutics, hw                            P: (212) 906-1200

  Daniel A. Ladow                                          Terry Kearney (pro hoc vice)
  James M. Bollinger                                       (terry.kearneyiw.com)

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 Timothy P. Ileaton                           Michelle P. Woodhouse (pro hac vice)
 J. Magnus Essunger                           (micheIIe,woodhouse(1.lw.com)
 Katherine J Jarihar                          LATHAM & WATKINS LLP
 Gerald E. Porter                             140 Scott Drive
 TROUTMAN SANDERS LLP                         Menlo Park. CA 94025
 875 Third Avenue                             P: (650) 3284600
 New York. New York 10022
 P: (212) 704-6000                            Jennifer Koh (pro hac vice)
                                              Uennifer.kohcIw.corn)
 Daniel T. Sharpe                             LATIIAM & WATKINS LLP
 TROUTMAN SANDERS LU’                         12670 High Bluff Drive
 401 9 Street NW. Suite 1000                  San Diego, CA 92130
 Washington. DC 20004                         P: (858) 523-5400
 I’: (202) 662-2081
                                              A ttonwvsfbr De/ènclants
 Charan)it Brahma                             Par Pharmaceutical Inc., Pa, Phar,naceutical
 TROUTMAN SANDERS LLP                         Companies Inc. and Endo International PLC
 580 California Street. Suite 1100
 San Francisco, CA 94104
 P: (415) 477-5713

 R. Jason Fotvler
 COVINGTON & BLRLING LLP
 One City Center
 850 Tenth Street. NW
 Washington. DC 20001
 P: (202) 662-6000

 Aftornevsfbr Plain/i/ft
 md/v/or Inc. and Inc//via,’ UK Limited

 Jamie L. Lucia
 STEPTOB & JOlINSON LLP
 1 Market St
 Steuart Tower, Suite 1800
 San Francisco, CA 94105
 (415)365-6711

 Attorney/a;’ Plaintiff
 Aq;iestive Therapeutics, I;ic.




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